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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRYAN DAVID RANGE, :

Plaintiff : CIVIL ACTION

v. :
No. 20-3488

ATTORNEY GENERAL UNITED
STATES OF AMERICA, ef al.,

Defendants

ORDER

AND NOW, this / day of August, 2023, in accordance with the Third Circuit Court

of Appeals’ decision in Range v. Attorney General United States of America, 69 F.4th 96 (3d Cir.

2023) (en banc) and the Third Circuit Court of Appeals’ Mandate to this District Court (Doc. No.

29), itis hereby ORDERED as follows:

I.

Declaratory judgment is ENTERED in favor of Bryan Range that 18 U.S.C. § 922(9)(1)
is unconstitutional under the Second Amendment of the United States Constitution as
applied to him.

The enforcement of 18 U.S.C. § 922(g¢)(1) against Mr. Range is ENJOINED.

The Clerk of Court is directed to mark this case CLOSED for all purposes, including

statistics.

BY THE COURT:

ENE EK. PRATTER
NITED STATES DISTRICT JUDGE
